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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS




 IN RE : ZOFRAN® (ONDANSETRON)                        MDL No. 1:15-md-2657-FDS
 PRODUCTS LIABILITY LITIGATION

                                                      This document relates to:
                                                      All Actions



            DEFENDANT GLAXOSMITHKLINE LLC’S NOTICE
  OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF ITS MOTION TO EXCLUDE
             PLAINTIFFS’ GENERAL CAUSATION EXPERTS

       Defendant GlaxoSmithKline LLC (“GSK”) respectfully submits the attached decision as

supplemental authority in support of its pending Motion to Exclude Plaintiffs’ General Causation

Experts Under Federal Rule of Evidence 702 (Dkt. No. 1304). Attached as Exhibit A is a copy of

the decision by the MDL court in litigation related to the drugs Viagra and Cialis, issued after GSK

submitted its original, reply, and supplemental briefs in support of its motion to exclude the

testimony of Plaintiffs’ general causation experts in this litigation. In re: Viagra (Sildenafil

Citrate) and Cialis (Tadalafil) Prods. Liab. Litig., No. 16-md-02691, 2020 WL 204115 (N.D. Cal.

Jan. 13, 2020). This decision, excluding all of the plaintiffs’ experts’ general causation opinions

under Rule 702, affects over one thousand cases presently pending in that MDL.

       In Viagra, the plaintiffs proffered six general causation experts, three with opinions that it

is “biologically plausible” that Viagra and Cialis (“PDE5 inhibitors”) could cause melanoma and

three with opinions that these drugs, in fact, do cause melanoma in some cases. Id. at *1-2. Two

of the plaintiffs’ “biological plausibility” experts and two “causation” experts testified live at the

Daubert hearing. Id. at *1. Ultimately, the court concluded that “while the opinions of plaintiffs’



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experts regarding ‘biological plausibility’ [based on animal studies] are admissible, their experts’

opinions as to causation are not.” Id.

       All three of the plaintiffs’ “causation” experts held advanced degrees in epidemiology, in

addition to other medical expertise, and the court concluded that all were well qualified and

credible.   Id. at *8-11.     The court likewise acknowledged the existence of six original

epidemiological studies, six meta-analyses, and three abstracts, all reporting a small statistically

significant increased risk of melanoma in association with PDE5 inhibitor use. Nonetheless, the

court concluded that “while plaintiffs’ causation experts would be entitled to opine that there is an

association between PDE5 use and melanoma progression [based on the studies], they have not

reliably applied a Bradford Hill analysis to make the requisite leap from correlation to causation.”

Id. at *11. Specifically, the court found that the experts’ “weighing of the Bradford Hill factors”

was “result-driven” and unreliable, most notably because their weighing analysis did not account

for the relative weakness of the association observed in the epidemiological studies. Id. at *9-12.

       The Viagra decision clarifies the proper role and place of biological plausibility in

determining causation in humans. Even if reliable, biological plausibility theories cannot supplant

adequate supporting epidemiological evidence or a reliable causation analysis based on that

evidence. The opinions of Plaintiffs’ experts in the Zofran litigation are even more deficient than

those of the plaintiffs’ experts in Viagra—not only is biological plausibility the lynchpin of the

Zofran experts’ causation opinions, but it is overwhelmingly contradicted by the epidemiological

evidence. As in Viagra, no amount of “result-driven” “weighing” can cure this problem. Like the

general causation opinions of the plaintiffs’ experts in Viagra, the general causation opinions of

Plaintiffs’ experts in this litigation should be excluded.




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Dated: January 31, 2020

                                  Respectfully submitted,


                                   /s/ Thomas Sheehan
                                  Thomas Sheehan
                                  Eva Canaan
                                  PHILLIPS LYTLE L.L.P.
                                  One Canalside
                                  125 Main Street
                                  Buffalo, NY 14203-2887
                                  tsheehan@phillipslytle.com
                                  ecanaan@phillipslytle.com

                                  Madeleine M. McDonough
                                  Jennifer M. Stevenson
                                  Jennifer Stonecipher Hill
                                  SHOOK, HARDY & BACON L.L.P.
                                  2555 Grand Blvd.
                                  Kansas City, MO 64108
                                  Telephone: (816) 474-6550
                                  Facsimile: (816) 421-5547
                                  mmcdonough@shb.com
                                  jstevenson@shb.com
                                  jshill@shb.com
                                  Admitted pro hac vice


                                  Attorneys for Defendant GlaxoSmithKline LLC




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